                               IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF KANSAS

    GARY SIPPLE AND ANNETTE JETER-
    SIPPLE,

                 Plaintiffs,
                                                                          Case No. 5:23-cv-04038-HLT
                 v.

    MICHAEL ZEVITZ, et al.,

                 Defendants.


                                                         ORDER

          Plaintiffs Gary Sipple and Annette Jeter-Sipple bring this pro se action related to the

foreclosure of their property, seeking $50 million in damages.1 They claim judges, attorneys, and

a court clerk in Kansas have violated their rights. Within a week of filing their case, and without

demonstrating service of summons and the complaint on all defendants,2 Plaintiffs filed a three-

page motion for a temporary injunction (Doc. 3).

          There are several problems with Plaintiffs’ motion. It does not appear that Plaintiffs served

the request on Defendants. A court may only issue a temporary restraining order without notice to

the adverse party or her attorney if:

                      (A) specific facts in an affidavit or a verified complaint clearly show
                      that immediate and irreparable injury, loss, or damage will result to
                      the movant before the adverse party can be heard in opposition; and

                      (B) the movant’s attorney certifies in writing any efforts made to
                      give notice and the reasons why it should not be required.


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     The Court liberally construes Plaintiffs’ pro se filings and holds them to a less stringent standard than those drafted
     by lawyers. See Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). But the Court does not assume the role of
     advocate. Id.
2
     An attorney has entered an appearance on behalf of two defendants, who represent they have been served. Docs 4
     & 5. But it appears these defendants were served only with the complaint, not the later-filed motion, as service was
     effected May 22 and 23, and the motion was filed May 24. Doc. 5.
Fed. R. Civ. P. 65(b)(1). Plaintiffs have made neither showing here. They ask for significant

damages, which indicates any injury is reparable with money. And they have not shown any injury

is imminent. Plaintiffs merely assert the threatened harm is imminent “because Michael Zevitz et

al. . . promised to foreclose on petitioner private property as soon as possible.” Doc. 3 at 2. This

assertion is insufficient to indicate “specific facts” that “clearly show that immediate and

irreparable injury” will result before the adverse parties can be heard. Fed. R. Civ. P. 65(b)(1)(A).

Neither have Plaintiffs certified any efforts to give notice or explained why it should not be

required.

       The outcome does not change even if two defendants have received notice of the motion.

If the Court considered Plaintiffs’ motion as one for a preliminary injunction with notice under

Rule 65(a) (or a temporary injunction with notice), Plaintiffs still fail to meet their burden of

showing entitlement to this extraordinary relief. They seek immediate injunctive relief, but they

do not specify the claims upon which they seek relief. Their complaint includes a multitude of

claims such as trespass, forgery, and identity theft. Yet the injunctive relief Plaintiffs seek is for

the Court to enjoin “Michael Zevitz et al. . . or any assigns from approaching petitioner property

intellectual, as well as real property within 50 feet . . . .” Doc. 3 at 3. Plaintiffs fail to tie their

requested relief to any claim or claims. And they do not address any specific claim or the elements

to prove that claim.

       And although Plaintiffs briefly mention each element for a preliminary injunction, they

make only conclusory allegations about how they meet those elements. See, e.g., Doc. 3 at 2 (“A

substantial likelihood exists that petitioner will prevail in this action, because facts obtained in a

discovery will reveal that Michael Zevitz et al has carried out similar threats and caused serious

injuries to others.”). But this conclusory statement does not demonstrate a substantial likelihood




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of success on the merits. To evaluate the merits, the Court suspects that other important questions

will need to be resolved, such as whether the Court has jurisdiction to entertain this case at all. All

of Plaintiffs’ claims appear to arise out of the foreclosure of their property. An action in Plaintiffs’

favor may interfere with the state court foreclosure action. This may in turn violate the Rooker-

Feldman doctrine, which “prohibits federal suits that amount to appeals of state-court judgments.”

Bolden v. City of Topeka, 441 F.3d 1129, 1139 (10th Cir. 2006). Moreover, the judicial defendants

may be entitled to judicial immunity. Henriksen v. Bentley, 644 F.2d 852, 855 (10th Cir. 1981).

And court clerks may be entitled to quasi-judicial immunity. Coleman v. Farnsworth, 90 F. App’x

313, 316-17 (10th Cir. 2004). These issues are ones that Plaintiffs fail to address at all.

       In sum, it is Plaintiffs’ burden to show an entitlement to the extraordinary remedy of a

temporary restraining order or a preliminary injunction. Plaintiffs have not met their burden.

Plaintiffs have not shown that (1) they risk immediate and irreparable harm; (2) any alleged

threatened harm to Plaintiffs outweighs any potential harm to Defendants; (3) relief will not

adversely affect the public interest; or (4) a substantial likelihood of success on the merits. Nor

have they provided information from which the Court can find a hearing on the matter is necessary

or warranted.

       THE COURT THEREFORE ORDERS that Plaintiffs’ Verified Petition for Temporary

Emergency Injunction (Doc. 3) is DENIED.

       IT IS SO ORDERED.


                Dated: May 25, 2023                    /s/ Holly L. Teeter
                                                       HOLLY L. TEETER
                                                       UNITED STATES DISTRICT JUDGE




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